       Case 2:07-cr-00483-TLN Document 241 Filed 04/27/15 Page 1 of 3


     HEATHER E. WILLIAMS, Bar #122664
1    Federal Defender
     DAVID M. PORTER, Bar #127024
2    Assistant Federal Defender
     Counsel Designated for Service
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5
     Attorneys for Defendant
6    RONNIE JAMES WILLIAMS, Jr.
7
8                                            UNITED STATES DISTRICT COURT
9                                           EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                            No. Cr. S-07-483 TLN
11
12                             Plaintiff,                 STIPULATED MOTION AND ORDER TO
                                                          REDUCE SENTENCE PURSUANT TO 18
13             v.                                         U.S.C. § 3582(c)(2)

14   RONNIE JAMES WILLIAMS, Jr.,                          RETROACTIVE DRUGS-MINUS-TWO
                                                          REDUCTION CASE
15                             Defendant.
                                                          Judge: Honorable TROY L. NUNLEY
16
17             Defendant, RONNIE JAMES WILLIAMS, Jr., by and through his attorney, Assistant
18   Federal Defender David M. Porter, and plaintiff, UNITED STATES OF AMERICA, by and
19   through its counsel, Assistant U.S. Attorney Jason Hitt, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On November 17, 2008, this Court sentenced Mr. Williams to a term of 151

25   months imprisonment;

26             3.         His total offense level was 34, his criminal history category was III, but the Court

27   found his criminal history was overrepresented under U.S.S.G. § 4A1.3, so the resulting

28   guideline range was 151-188 months;

     Stipulation and Order Re: Sentence Reduction           1
       Case 2:07-cr-00483-TLN Document 241 Filed 04/27/15 Page 2 of 3



1              4.         On December 19, 2011, on the parties’ stipulated motion, Mr. Williams was
2    resentenced to 135 months pursuant to Amendment 750 (“crack minus two”) of the United States
3    Sentencing Commission;
4              5.         The sentencing range applicable to Mr. Williams was subsequently lowered by
5    the United States Sentencing Commission in Amendment 782, made retroactive on July 18,
6    2014, see 79 Fed. Reg. 44,973;
7              6.         Mr. Williams’ total offense level has been reduced from 34 to 32, his amended
8    guideline range is 121-151 months;
9              7.         Accordingly, the parties request the Court enter the order lodged herewith
10   reducing Mr. Williams’ term of imprisonment to a total term of 121 months.
11   Respectfully submitted,
12   Dated: April 23, 2015                              Dated: April 23, 2015
13   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
14
15    /s/ _Jason Hitt                                   /s/ David M. Porter
     JASON HITT                                         DAVID M. PORTER
16   Assistant U.S. Attorney                            Assistant Federal Defender
17   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           RONNIE JAMES WILLIAMS, Jr.
18
19
                                                       ORDER
20
               This matter came before the Court on the stipulated motion of the defendant for reduction
21
     of sentence pursuant to 18 U.S.C. § 3582(c)(2).
22
               The parties agree, and the Court finds, that Mr. Williams is entitled to the benefit
23
     Amendment 782, which reduces the total offense level from 34 to 32, resulting in an amended
24
     guideline range of 121-1151 months.
25
               IT IS HEREBY ORDERED that the term of imprisonment imposed on December 19,
26
     2011 is reduced to a term of 121 months.
27
28

     Stipulation and Order Re: Sentence Reduction          2
       Case 2:07-cr-00483-TLN Document 241 Filed 04/27/15 Page 3 of 3



1              IT IS FURTHER ORDERED that all other terms and provisions of the amended
2    judgment of December 19, 2011 remain in effect. The clerk shall forthwith prepare an amended
3    judgment reflecting the above reduction in sentence, and shall serve certified copies of the
4    amended judgment on the United States Bureau of Prisons and the United States Probation
5    Office.
6              Unless otherwise ordered, Mr. Williams shall report to the United States Probation Office
7    within seventy-two hours after his release.
8    Dated: April 24, 2015
9
10
11                                                  Troy L. Nunley
                                                    United States District Judge
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     Stipulation and Order Re: Sentence Reduction      3
